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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF OKLAHOMA



 UNITED STATES OF AMERICA,
                  Plaintiff,
                     V.

                                                                 Case No.     20-cv-00423-JFH
 JEFFREY LOWE,
 LAUREN LOWE,
 GREATER WYNNEWOOD EXOTIC
                                                                                           IF jiiuijaii
 ANIMAL PARK, LLC,                                                                             AUG 26 2021
 and
                                                                                              PATRICK KEANEY
                                                                                             Clerk, U.S. Oistrid Court
 TIGER KING, L.L.C,                                                                  By-
                                                                                                   Deputy' Cttfk
                               Defendants.


                     CARRIE M. LEO'S MOTION TO INTERVENE

                                Due to Unlawful Seizure by PlaiDtifTUSA

         Carrie M. Leo ("Intervenor"), owner of eight animals which were unlawfully seized by the

Plaintiff U.S.A.,' ("Plaintiff') hereby requests ofthe Court that she be permitted as an interested
party pursuant to FRCvP 24 (a), in support of which she states:

    1. Her request has its purpose to ensure the protection of her legal interests and constitutional

         rights.

    2. Counsel for the Plaintiff, the United States of America, has the U.S.A.' alone as a client,
         and the legal interests which counsel for Plaintiff seeks to protect are strictly, or at least

         formally, those only of the federal agency.

    3. Intervenor has a case filed in the district court of Garvin County in which she was awarded

         repossession of eight exotic animals she was boarding at the then G.W. Zoo in

         Wynnewood, Oklahoma since April 2017 by a writ of replevin on October 23, 2020 and



* "U-S-A." refers to the federal government agencies relevant to or involved in the instant case filed in the Eastern
District of Oklahoma's Federal Court; namely the United States Fish & Wildlife Service {"USFWS") and the United
States Department of Agriculture ("USDA").
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   an amended writ of replevin on November 6,2020. However, when she had to reschedule

   the transport of her animals a second time requiring a second writ of replevin, the U.S.A.

   interfered in the case by making inappropriate contact with the court without the knowledge

   of or disclosure to the Intervenor and prejudiced the court against the plaintiff by making

   false accusations and statements. This occurred in mid-late November 2020.


4. PlaintiffU.S.A., in no way, has any legal right to Intervenor's eight animals boarded at the

   Thackerville Zoo under the possession of Jeff and Lauren Lowe. In fact. Plaintiff has

   intentionally kept Intervenor in the dark by trying to mislead her into thinking the Lowes

   did not have the animals in their possession at all.

5. The staff, presumably of the USDA, then worked with the court in Garvin County to delay

   Intervenor's case by excluding her from hearings and by the use ofother tactics in order to

   allow the USDA to unfairly terminate Intervenor's federal license for exhibition in

   February 2021.

6. Intervenor has reason to believe the Plaintiff may have misrepresented the law and

   licensing once possessed by the Intervenor by making the Garvin County District Court

   believe Intervenor must be licensed in order to possess her animals, which is untrue due to

   Intervenor's right to have a private collection so long as no regulated activity with the

   animals takes place.

7. Intervenor has been vying for the return of her animals since the first time she contacted

   the Lowes in September/October 2018 when the latter refused to return the animals.

   Intervenor then filed suit against the Lowes in June 2019.

8. Intervenor has not had her right to due process respected for this entire process since she

   is representing herself and it seems such is a "green light" for coiuts and counsel to commit

   gross misconduct resulting in the repeated violation of her constitutional rights.
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9. Remedy by way of the case in Garvin County is unlikely since the court is zealously

    protecting the defendants to the extreme of disallowing any discovery to take place which

    would even remotely benefit the Intervenor.

10. It is apparent to the Intervenor that Plaintiff U.S.A. has influenced pending litigation as

    well as any complaint process inside or outside of the USDA and USFWS by estranging

    the Intervenor to the point in which none of her complaints made in the past and in order

    to avoid litigation, were objectively investigated. The federal government is incapable of

    treating all members of the public equally and resf>ecting each person's guaranteed right to

    due process, especially in an industry as politically charged as that of the possession and

    ownership of exotic animals.

11. Had Plaintiff U.S.A. not covertly influenced Intervenor's Garvin County case, the

    Intervenor would likely have had her animals returned to her and the case would likely

    have been over by now. Unfortunately, now it is stalemated.

12. The agencies have chosen to go to great lengths in order to ensure the Intervenor is

    uninformed about animals she owns.


13. As a result, the Garvin County case will likely not allow any fair remedy for the Intervenor

    since the court presiding over the case seems to believe the rumors and falsehoods secretly

    passed around and made directly to the court by Plaintiff U.S.A. and/or those closely

    associated with it - a highly unethical action.

14. Not once have any member of the federal government dared to make such accusations in

    the presences of the Intervenor simply because they are not true and know the Intervenor

    can show that in such an instance.


15. Intervenor also has reason to believe staff from the federal government, likely the USDA,

    or someone on its behalf, have also adversely affected other litigation the Intervenor had
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        pending in Texas causing at least one appeal.

   16. With the U.S.A. considering itself as a government "for the people" and "by the people",

        it has erred in its treatment of self-represented litigants and those who dare to criticize the

        federal government publicly^ and should not be allowed to continue to do so.

   17. Intervenor filed proof of ownership and other documents on July 12,2021.

   18. There has been a stark contrast between the treatment of the Lowes versus the Intervenor


        in the way of respect for their rights in relation to animals they own and possess. Whereas

        the Lowes have had their rights mostly respected and were given notice of seizures as well

        as respect by the court and attorneys involved, the Intervenor has been deliberately kept in

        the dark, has had absolutely no due process which has now culminated in the unlawful

        seizure of her valuable exotic animals by the United States government.

   19. The United States government has given the Intervenor little choice but to request to

        intervene in the instant action so the Intervenor can assert her rights, hoping the federal

        court will succeed in such regard where the Garvin county court has failed in respecting

        her constitutional rights.

   20. Since government agencies have refused to communicate with the Intervenor in the past,

        even regarding benign subject matter, she did not approach the plaintiffs counsel in order

        to note whether or not they would object to her intervention.

   21. It is Intervenor's understanding that, as of July 14, 2021, the defendants are no longer

        represented by counsel, so the Intervenor did not contact an attorney currently representing

        them, other than Mr. Card in case he is still passing on information from the court onto the

        Lowes. Of course, the Lowes have had the foregoing mailed to them as well.



' USDA started targeting Intervenor's USDA exhibition license after she made a complaint to then-Secretary, Sonny
Perdue pertaining to the fabrication of evidence by a veterinarian in cahoots with an Animal Care Inspector who
had been conspiring against the intervenor for months prior.
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          WHEREFORE, Intervenor prays the Court peimit her to act as an Intervenor in the instant

action so as to finally, after so many years of being denied meaningftil access to justice, she may

fmd it.


                                                                     fully submrtted,


                                                             Carrie M. Leo, Intervenor
                                                             3199 Walworth Road
                                                             Walworth, NY 14568
                                                             Telephone: (315) 538-8316
                                                             Carrieleo 15@gmail.com




                                 CERTIFICATE OF SERVICE

        1hereby certify that a true and correct copy of the foregoing document was placed in the
U.S. Mail, postage pre-paid and transmitted electronically by means of the court's electronic case
filing system on August 20, 2021, to the following:
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